               Case 8:05-cr-00478-JSM-AAS Document 59 Filed 04/28/06 Page 1 of 6 PageID 192
    A 0 245B (Rev 1U03) S k r 1 - Judgment in a Crrminal Case
I



                               UIVITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICTT OF FLORIDA
                                                        TAMPA DMQON



    UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                                                CASE NUMBER: 8:05-cr-478-T-3T)MSS
                                                                USM NUMBER. 48338-018



    ANTHONY RENNARD STARKS
                                                                Defendaat's Attorney; Frank Zaremba. pda.

    THE DEFENDANT:

    -
    X pleaded guilty to count(s) ONE of the Indictment.
    -pleaded nolo contendere to count(s) which was accepted by the court,
    -was found guilty on com(s) after a plea of not guilty.
    TITLE & SECTION                   NATURE OF OFFENSE                                   OFFENSE ENDED             COUNT
    21 U.S.C. 99846 and               Conspiracy to Manufacture and Possess With Intent October 27, 2005            One
    841 @)(l)@)(Ei)                           to Distribute 5 Grams or More of Cocaine Base


            The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
    Sentencing Refarm Act of 1984.

    - The defendant has been found not guilty on count(s)
    X
    -Count(s) TWO md THREE of the Indictment ace dismissed on the motion of the United States.
    IT IS FURTHER ORDERED that the defendant shall notify h e United States Attorney for this district within 30 days of any change
    of name, residence, or mailing address mid a11 fines, restitution, costs, and specid assessments imposed by this judgment are fully
    paid.
    If ordered to pay restitutbn, the defendant shall notify the caw and United .@a@, Attomq of my m.fichange in economic
    circumstances.


                                                                                  Date of Impmition of Sentence: April 28,20%
           Case 8:05-cr-00478-JSM-AAS Document 59 Filed 04/28/06 Page 2 of 6 PageID 193

A 0 245B (Key 12/03) Sheet 2 - I~nprisonment
Defendant:          ANTHONY KENNARD STARKS                                                                  Judgment - Page 2 of 6
Case No.:           8:05-cr-478-T-3OMSS




          After considering t h e advisory sentencing guidelines and all of t h e factors identified i n Title 18 U.S.C.
5s 3553(a)(l)-(7), the court fmds that the sentence imposed is sufficient, but riot greater t l m l necessary, to comply -4th
the statutory purposes of sentencing.


       The defendant is hereby com~nittedto the custody of the United States Bureau of Prisons to be
imprisoned for a total term of THIRTY-SEVEN (37) hlONTHS as to Count One of the Indictment.



X T h court makes the following recon~n~enda~ions
                                              to the Bureau of Prisons: The defendant shall be placed at FCI Miami,
if possible.



X The defendant is remanded to the custody of the United States Marshal.
-
- The defendant sliall surrender to the United States Marshal for this district.
          - at - a.m.1p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender Ibr service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on   -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




          I have executed this judgment as follows:




          Defendant delivered on                                                    to                                               at

                                                                         ,   with a certified copy of this judgment.


                                                                                           United States Marshal

                                                                        By :

                                                                        Deputy Marshal
             Case 8:05-cr-00478-JSM-AAS Document 59 Filed 04/28/06 Page 3 of 6 PageID 194
- A 0 2458 (Re\. 12/03) Sheet 3 - Supervised Release

Defendant:            ANTHONY RENNARD STARKS                                                                        Judgment - Pagc 3of 6
Case No.:             8:05-cr-478-T-30MSS
                                                             SUPERVISED RELEASE

           U p o n release f r o m i n ~ p r i s o n m e n t ,t h e defendant shall be o n supervised release f o r a t e r m of THREE (3) YEARS a s t o
C o u n t O n e of t h e Indictment.

        T h e defendant shall report to the probation office in the district to which the defendant is released within 77 hours of release
from the custody of the Bureau of Prisons.

T h e defendant shall not commit another federal, state, o r local crime. The defendant shall not illegally possess a controlled substance.
T h e defendant shall refrain from any unlawful use of a controlled substance. T h e defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.


-
X         T h e defendant. having been convicted of a qualifying felony, shall cooperate in the collection of DNA as directed b y the
          probarion officer.


             If this judgment imposes a fine o r a restitution it is a condition of supervised rcleiise that the defendant pay in accordance
             with the Schedule of Payments sheet of this judgment.

           T h e defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions o n the attached page.

                                              STANDARD CONDITIONS O F SUPERVISION
             the defendant shall not leave the judicial district without the permission of thc court or probation officer;

             the defendant shall report to the probation officer and shall submit a truthful and completc written report \vithln the first five days of each
             month;

             the defendant shall answer truthfully all inquiries by the probation officer and follow the inslructions of the probation officer;

             the defendant shall support his or her dependents and meet other family responsibilities;

             the defendant shall work regularly at a la~vfuloccupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;

             the defendant shall notify rhe probation officer at least ten days prior to any change in residcncc or ernploymcnt;

             the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

             the defendant shall not frequcnt places where controlled substances are illegally sold, used, distributed, or administered:

             the defendant shall not associate \ilith any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;

             the defendant shall pcrniit a probation officer to vlsit him or her ar any time at home or else\\,here and shall pcrm~tconfiscation of any
             contraband observed in plain vicw of the probation officer;

             the defendant shall notify the probation officer within seventy-hvo hours of being arrested or questioned by a la\\, enforcement officer;

             the defendant shall not cntcr into any agreement to act as an informer or a special agent of a la\\! enforcement agency without the
             permission of the court;

             as dirccted by the probation officer, thc defendant shall notify third parties of risks that niny bc occasioned by the defendant's criminal record
             or personal history or eharacreristtcs and shall permit the probation officer to make such notifications and to confirm the defendant's
             cornpl~ance\\*~th such notification requirement.
           Case 8:05-cr-00478-JSM-AAS Document 59 Filed 04/28/06 Page 4 of 6 PageID 195

A 0 245B (Res. 12/03) Sheer 3C - Supervised Release
- -        -


Defendant:           ANTHONY RENNARD STARKS                                                             Judgment - Page 4 of 6
Case No.:            8:05cr-478-T-30MSS
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


-
X          The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation
           officer's determillation that additional drug urinalysis is necessary. the Court authorizes random drug testing not to exceed
           104 tests per year.
          Case 8:05-cr-00478-JSM-AAS Document 59 Filed 04/28/06 Page 5 of 6 PageID 196

A 0 245B (Rev 12/03) Shuet 5 - Crin~inalMonetary Penalties

Defendant:           ANTHONY RENNARD STARKS                                                            Judgment - Page 5 of 6
Case No.:            8:05-cr-478-T-30MSS

                                                CRIhlINAL hlOSETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                               Assessme~lt                            -
                                                                      Fine                      Total Restitution

          Totals:               $100.00                               Waived                    N/ A


-          The determination of restitution is deferred until -.               An An~endedJrdgme~~r
                                                                                                  ill a Criminal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or ercenta e payment column below. However, pursuant to 18 U.S.C. tj
                                                             cf'       %
           3664(i), all nonfedcral victims must be pai before t e United States.
                                                                                                                Priority Order or
                                                       *Total                     Amount of                     Percentage of
                                                     Amount of Loss            Restitution Ortlcred             Pavmcnt




                                Totals:              S                         S

 -         Restitution amount ordered pursuant to plea agreement           S
 -         The defendant shall pay interest on any fine or restitution of more than $2.500, unless the restitution or fine is paid in full
           before the fifteenth day after the dare of the judgment, ursuant to 18 U.S.C. S 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and def%t, pursuant to 18 U.S.C. 5 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          rhe interest requirement is waived for the - fine          - restitution.
         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 110A. and 113X of Title 18 for h e offenses
conmined on or after September 13. 1994. but before April 23. 1896.
        Case 8:05-cr-00478-JSM-AAS Document 59 Filed 04/28/06 Page 6 of 6 PageID 197
A 0 2458 (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:        ANTHONY RENNARD STARKS                                                             Judgment - Page G of 6
Case No. :        8:05-cr-478-T-30MSS

                                                  SCHEDULE OF PArnLENTS


Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X Lump sum payment of $ 100.00 due ir~unediately,balance due
                            -not later than                    . Or
                            -in accordance - C, - D, - E or - F below: or
B.       -        Payment to begin immediately (may be combined with -C, - D, or -F belo~v);or
C.       -        Payment in equal                 (e.g., weekly, monthly, quarterly) irlstallments of $            over a
                  period of          (e.g., months or years). to commence              days (e.g., 30 or 60 days) after the
                  dare of this judgment: or
D.       -        Payment in equal                (e.g ., weekly. monthly. quarterly) installments of S               over a
                  period of
                               . (e.g., months or years) to commence                      (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                          payment of criminal
monetar penalties is due during im risonmenr. All criminal monetary penalties, except                                made through the
                                        F
Federal flureau of Prisons' Inmate -inancia1 Responsibility Program. are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
x
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
Tlle Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and roperty,
or portions thereof. subject to forfeiture, which are in the possession or control of the defendant or the de endant's
nominees.
                                                                                                                               P

Papnlents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
